                        Case 25-30484-pcm11            Doc 47      Filed 03/13/25



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                            UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF OREGON

 In re:                                                    Case No. 25-30484-pcm11 (Lead Case) and 25-
                                                           30486-pcm 11 (Jointly Administered)
 Sherwood Hospitality Group, LLC and
 DVKOCR Tigard, LLC,                                       UNITED STATES TRUSTEE’S
                                                           REQUEST TO APPEAR BY PHONE
 Debtors.                                                  AT THE March 20, 2025, HEARING




          Griffin Butler, trial attorney for the Acting United States Trustee, hereby requests permission to appear

 by telephone at the hearing for the Motion to Assume Hotel Management Agreements [Doc #30], Motion to

 Pay Certain Taxes [Doc #32], and Motion for Authority to Use Cash Collateral [Doc #36] scheduled for March

 20, 2025, at 9:30am in Portland Courtroom #1. The trial attorney for the Acting United States Trustee will be

 out of the local travel area on that date. Accordingly, Mr. Butler would respectfully request authorization to

 listen to the hearing telephonically.



          Dated this 13th day of March 2025.


                                                /s/ Griffin Butler
                                                Griffin Butler ID Bar #12097, IL Bar #6332513
                                                Trial Attorney
